 Case 6:12-cv-00839-MHS Document 18 Filed 03/04/13 Page 1 of 1 PageID #: 66
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

DONNICE ROBERTS, Individually, and           §
as NEXT FRIEND OF JOHNNY and                 §
JANIE DOE, minors,                           §
                                             §
v.                                           §     Civil Action No. 6:12-cv-839
                                             §
NATIONAL GEOGRAPHIC SOCIETY,                 §
FOX CABLE NETWORKS, INC.,                    §
  . ENTERTAINMENT GROUP, INC.
FOX                                          §

                                   FINAL JUDGMENT

       In accordance with the Court’s order of dismissal, it is hereby ORDERED, ADJUDGED,

and DECREED that final judgment be entered in this case.

       All relief not previously granted is hereby DENIED.

       It is SO ORDERED.

      SIGNED this 4th day of March, 2013.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE
